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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                      SAN ANTONIO DIVISION

TEXAS      EQUITY                DEVELOPMENT             §
ENTERPRISES, LLC                                         §
     Plaintiff,                                          §
                                                         §
                                                         §
                                                         §
v.                                                       §
                                                         §   CAUSE NO.: SA-22-CV-00463-JKP

FAY SERVICING LLC,                                       §
RESIDENTIAL ASSET SUB LLC                                §
      Defendant(s).                                      §
                                                         §
                                                         §
                                                         §
                                                         §
                                                         §
                                                         §


                                  JOINT STIPULATION OF DISMISSAL

TO THE HONORABLE JUDGE OF SAID COURT:

           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff TEXAS EQUITY

DEVELOPMENT ENTERPRISES, LLC (hereinafter “Plaintiff” or “TEX”), and Defendant(s) FAY

SERVICING, LLC (hereinafter “Defendant” or “FAY”) and RESIDENTIAL ASSET SUB LLC (hereinafter

“Defendant” or “RES”) (and hereby stipulate and agree to the following:

           1.      All matters in controversy between Plaintiff and Defendant(s) in the above-entitled and

numbered cause have been fully and finally settled and, as such, all claims in this case against Defendant(s),

which were or could have been asserted by Plaintiff, are dismissed without prejudice.

           2.      Plaintiff as well as Defendant(s) shall bear their own attorney’s fees, expert fees, litigation

expenses and costs incurred in litigating and settling these claims.

           3.      This stipulation is made pursuant to the agreement and understanding between counsel for the

parties.
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        WHEREFORE, PREMISES CONSIDERED, Plaintiff as well as Defendant(s) jointly request that the

Court enter the attached Order dismissing the above-entitled and numbered cause without prejudice, with costs

of court being assessed against the party incurring same.

Dated: August 10, 2022

                                                            Respectfully Submitted:

                                                            JACK O’BOYLE & ASSOCIATES


                                                              /s/ Travis H. Gray
                                                            Travis H. Gray
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                                                            ATTORNEYS FOR DEFENDANT(S) FAY
                                                            SERVICING LLC AND RES

                                                            Agreed To and Respectfully Submitted:

                                                              /s/ GREGORY VAN CLEAVE
                                                            GREGORY VAN CLEAVE
                                                            SBN: 24037881
                                                            VAN CLEAVE LEGAL
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                                                            E: GREG_V@VANCLEAVELEGAL.COM
                                                            COUNSEL FOR PLAINTIFF
                                                            TEXAS        EQUITY     DEVELOPMENT
                                                            ENTERPRISES, LLC
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                                    CERTIFICATE OF SERVICE
       This is to certify that a true, correct and complete copy of the foregoing document has been served in
                                                         8 18 2022
accordance with the Federal Rules of Civil Procedure on _____________to:

Gregory Van Cleave
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LLC


                                                          /s/ Travis H. Gray
                                                          Travis H. Gray
